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UNITED STATES DISTRICT CGURT
SOUTHERN l)lSTRICT OF NEW Y()RK

 

l\/IALIBU MEDIA, LLC,
Case No. l:l7-cv-O9135-KBF
Plaintil`f,
.ludge Forrest
vs.

MIKE SUCHANEK,

Defendant. :
_________________________________________________________________ X

PLAINTIFF’S N()TICE OF SERVICE

PLEASE TAKE NOTICE, per the Court’S Order dated March 21, 2018 [DE 29],
Plaintifl" Malibu Media, LLC, hereby gives notice of Serving Defendant’s counsel With this

court’s order rescheduling the pretrial conference to March 22, 2018. Service Was completed on

l\/larch 19, 2()18.

Dated: March 22, 2018 Respectfully subniitted,

By: /s/ Kevin T. Conwav
Kevin T. Conway, Esq. (KC-3347)
664 Chestnut Ridge Road
Spring Valley, New York 10977-6201
T: 845-352-0206
F: 845-352-048]
E-mail: klenwlibu(i_® '>'mail.com
Allorneyf())‘ P[al`nlg`/_”f`

 

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CERTIFICATE OF SERVICE
l hereby certify that on l\/larch 22, 2018, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF and that service Was perfected on all counsel ol"
record and interested parties through this system.

By: /S/ Kevin T. Conwav
Kevin T. Conway, Esq.

 

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. USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
S()UTHERN DISTRICT OF NEW Y()RK ELECTR()NlCALLY FILED

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ X Doc #;

DATE FILED: l\/larch 12 2018
l\/IALIBU MEDIA, LLC,

 

Plaintiff,
-v- : 17-cv-9135 (KBF)
MIKE SUCHANEK, : ORDER

Defendant. .
__________________________________________________________________ X

KATHERINE B. l¥`ORRES']_`, District Judge:

The Court must reschedule the initial pretrial conference currently set for
l\/larch ],6, 2018 at 3200 p.m. The telephonic conference shall take place on
Thursday, March 22, at 1:30 p.m. Parties shall call Chalnbers (212-805-0276)
from one line at that time.

All counsel in receipt of this order shall notify all other parties (or, if known,
their attorneys) of the schedule change by serving each of them With a copy of this
order; counsel shall file proof of such service With the Court.

S() ORDERED.

Dated: NeW York, New York
l\/[arch 12, 2018

l¢-/-_~ F§.W

KATHERINE B. FoRREST
United States District Judge

 

